    Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 1 of 31


                                            Pages 1 - 30

                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

BEFORE THE HONORABLE JACQUELINE SCOTT CORLEY, MAGISTRATE JUDGE

EX PARTE APPLICATION OF PALANTIR       )
TECHNOLOGIES, INC. FOR AN ORDER        ) NO. C 18-MC-80132-JSC
PURSUANT TO 28 U.S.C. § 1782 TO        )
OBTAIN DISCOVERY FOR USE IN            )
FOREIGN PROCEEDINGS.                   )

                                         San Francisco, California
                                         Thursday, December 6, 2018

                    TRANSCRIPT OF PROCEEDINGS
APPEARANCES:

For Applicant Palantir Technologies, Inc.:
                        KEESAL, YOUNG & LOGAN
                        450 Pacific Avenue
                        San Francisco, California 94133
                   BY: CHRISTOPHER A. STECHER, ESQ.

                          FRESHFIELDS BRUCKHAUS DERINGER US LLP
                          601 Lexington Avenue
                          31st Floor
                          New York, New York 10022
                    BY:   DAVID Y. LIVSHIZ, ESQ.
                          TIMOTHY P. HARKNESS, ESQ.


For Marc L. Abramowitz:
                          SKADDEN, ARPS, SLATE, MEAGHER
                            & FLOM LLP
                          300 South Grand Avenue
                          Los Angeles, California 90071
                    BY:   JACK P. DICANIO, ESQ.



Reported By:   BELLE BALL, CSR 8785, CRR, RDR
               Official Reporter, U.S. District Court

(Appearances continued, next page)
    Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 2 of 31


APPEARANCES, CONTINUED:


For Marc L. Abramowitz:
                          SKADDEN, ARPS, SLATE, MEAGHER
                            & FLOM LLP
                          525 University Avenue
                          Palo Alto, California 94301
                    BY:   NIELS J. MELIUS, ESQ.

                          WILLIAMS & CONNOLLY, LLP
                          725 Twelfth Street, N.W.
                          Washington, D.C. 20005
                    BY:   STEPHEN L. WOHLGEMUTH, ESQ.
            Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 3 of 31       3


1    Thursday - December 6, 2018                                    9:23 a.m.

2                              P R O C E E D I N G S

3                 THE CLERK:    Calling Civil Action 18-MC-80132, in re

4     Palantir Technologies, Inc.

5                 THE COURT:    Okay, go ahead and make your appearances.

6                 MR. STECHER:    Good morning, Your Honor.       I'm

7     Christopher Stecher from Keesal Young & Logan on behalf of the

8     applicant Palantir.

9           I'm here with my colleague, David Livshiz, from the

10   Freshfields firm, who will be arguing on behalf of the

11   applicant.

12                THE COURT:    All right, good morning.

13                MR. DiCANIO:    Good morning, Your Honor.       Jack DiCanio

14    on behalf of Mr. Abramowitz.

15                THE COURT:    Good morning.

16                MR. WOHLGEMUTH:     Good morning, Your Honor.      Steve

17    Wohlgemuth on behalf of Mr. Abramowitz.

18                THE COURT:    Good morning.

19                MR. MELIUS:    Good morning, Your Honor.      Niels Melius

20    on behalf of Mr. Abramowitz.

21                THE COURT:    All right.    Good morning.

22          So we're here -- this is a tiny battle in a much larger

23   war.    So, I get that.

24          So let me first ask, I guess, Mr. Livshiz, what currently

25   is the status of the German action?
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 4 of 31         4


1         Has any action been filed challenging the healthcare

2    patents yet?

3              MR. LIVSHIZ:    Your Honor, let me take that in turns.

4         The status of the cyber action that was filed in Germany

5    in August is that it is currently pending service by the

6    Department of State.

7         Under German law, Mr. Abramowitz either has to appear in

8    Germany and accept service, which he has declined to do, or

9    service has to be made by the Court through the official

10   channels of the Department of State.

11        That process has started beginning -- since the beginning

12   of October.    And we understand it will be complete soon.           But

13   that part of it is pending with the Department of State.

14             THE COURT:    Okay.

15             MR. LIVSHIZ:    The healthcare act -- the healthcare

16    action, rather, Your Honor, given the time period that has

17    passed in trying to serve Mr. Abramowitz, our intent now is

18    to -- once service is made and he appears, to avail ourselves

19    of the opportunity to amend the German action to include the

20    healthcare claims, rather than taking another three months to

21    effect service.

22             THE COURT:    Okay.   Because then you could just serve

23    whatever counsel is representing him.

24             MR. LIVSHIZ:    Correct.

25             THE COURT:    Okay.   All right.    And then with respect
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 5 of 31       5


1     to the state-court action, has -- have the -- has the revised

2     trade secret list been filed yet?

3              MR. LIVSHIZ:    It has.    It was filed on October 30th.

4     I understand that Mr. Abramowitz intends to object yet again.

5         I also understand that under the rules of -- the

6    individual practices rules of the judge hearing the California

7    action, there needs to be an initial conference before the

8    objections can be filed and briefing takes place.

9         And I understand that that -- Mr. Abramowitz proposed that

10   that conference go forward I guess in February, which means

11   that the briefing would take place at the end of Quarter 1, and

12   the decision would be in Quarter 2.

13             THE COURT:    Okay.

14             MR. LIVSHIZ:    Your Honor, if I may, that's important

15    for us for the following reasons, which is once the German

16    action is served, the German calendar is actually very

17    different than the calendar in the United States.

18        Assuming that service is effected by Christmas, our trial

19   in Germany would be before next Christmas, which means we would

20   need to submit all of our evidence no later than August.

21             THE COURT:    Okay.   All right.    That's fine.    Okay, so

22    whoever is arguing for Mr. Abramowitz.

23        So, so, let's just start -- I kind of just want to go

24   through the Intel factors because I don't think -- I'm not

25   inclined to sort of deny the application outright because of
            Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 6 of 31      6


1    bad faith.     As I said, this is one tiny battle in a much larger

2    war.

3           And I -- I note that the Delaware court actually had

4    suggested that Mr. Abramowitz was using that litigation in

5    order to obtain discovery for another purpose.           So, I don't

6    want to hear that.       I get it.   I have a lot of litigations like

7    that -- this, and I understand all that.

8           And it may very well be that the German action is being

9    used in part to get discovery for other things.           But as long as

10   the German action is different -- I mean, that's something I'll

11   consider, but I'm not inclined to deny.

12          I am interested a bit in timing.        But first, let's just

13   figure out if the discovery -- how I would exercise my

14   discretion there.

15          So the first factor is the fact that Mr. Abramowitz will

16   be -- although, I don't know, I don't -- what do I do about the

17   fact that he's refused to accept service?

18          In other words --

19                MR. DiCANIO:    Well, Your Honor, I think that there is

20    context that counsel omitted.

21          Right now, there is a motion pending before the state

22   court.     It's an anti-suit injunction that we filed before the

23   state court, asking the state court to enjoin Palantir from

24   proceeding in the German action.

25          And the reason for that is that -- if you recall from our
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 7 of 31     7


1    papers, that there is a forum selection and waiver provision in

2    the agreement called the transfer agreement, the 2012 transfer

3    agreement, that Palantir has based its claim in the state court

4    to say that we provided information to Mr. Abramowitz.         That

5    information was covered by this provision.       And he breached

6    that provision by taking these trade secrets and seeking patent

7    applications from them.

8         So we've moved before the state court to enjoin Palantir

9    from proceeding in Germany.     That hearing is set --

10             THE COURT:    Of course, you could just accept service

11    and make that motion in Germany.      I mean, it's always --

12    that's -- okay, you can make that motion.       I'm not sure -- I'm

13    not going to comment on that.     I wasn't that persuaded by it.

14        But in any event, you want a state court to enjoin a

15   foreign proceeding.    Okay.   But -- I'm not that -- you can do

16   that there; you can do that.     My question -- let's just go to

17   the factors.   I'm not going to deny that.      And if that happens,

18   then that happens.

19        The timing is a different matter.

20             MR. DiCANIO:    No, I understand.     But Your Honor, I

21    believed your question was --

22             THE COURT:    Why doesn't he accept.

23             MR. DiCANIO:    Because we feel that that is not an

24    appropriate proceeding.    And so we want to challenge that in

25    the state court --
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 8 of 31   8


1               THE COURT:    Why don't you challenge it in Germany?

2               MR. DiCANIO:    Well, because, Your Honor, it is a

3     California resident in a case against a company who's

4     headquartered in California.     Where we have been litigating

5     the very same facts, now, for two years.

6               THE COURT:    Okay.   But the case is about a German

7     patent.   Presumably, he went to Germany to get it.

8               MR. DiCANIO:    Your Honor, the case is about --

9               THE COURT:    The case in Germany.

10              MR. DiCANIO:    The case is still about what Palantir

11    alleges was information provided by Palantir to Mr. Abramowitz

12    while he was a shareholder, that they claim Mr. Abramowitz

13    then took to file patent applications --

14              THE COURT:     In Germany.

15              MR. DiCANIO:    And in the United States.

16              THE COURT:    I understand that.    But in Germany, as

17    well.   It's not like he didn't do anything in Germany.

18              MR. DiCANIO:    Correct, but --

19              THE COURT:    That's fine.   I understand why he didn't

20    accept service.

21        Let me ask you this.     Assuming he gets served, your

22   argument is because he -- well, your argument is he'll never be

23   a party there.   Okay.    But let's assume he's a party in

24   Germany.   They offer evidence that the German court can request

25   the production of documents from somebody who doesn't reside
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 9 of 31        9


1    there, even if they're a party, but can't compel it.

2         And I didn't see anything in your papers that disputed

3    that sort of legal proposition as to the authority of the

4    German court.

5               MR. DiCANIO:    Well, Your Honor, they haven't even

6     asked the German court.    What they did was they filed suit,

7     and then four days later --

8               THE COURT:   No, do you -- you're not answering my

9     question.   I read through the papers.      I understand that.      Do

10    you dispute that legal proposition?

11              MR. DiCANIO:    Well, Your Honor, I believe that the

12    German court has discretion to order discovery that is in

13    front of it.     I don't know the limits of that discretion.

14        But   I --

15              THE COURT:   Well, why not?

16        So would you stipulate on the record, should your client

17   be made a party to that action, that he would comply with any

18   request of the German court?

19              MR. DiCANIO:    Of course, Your Honor.     If he is

20    subject to their jurisdiction and is participating in that

21    action, he would comply with whatever order the court issues.

22              THE COURT:   Even if it's a request, because they

23    don't have the authority to compel.

24              MR. DiCANIO:    Well, Your Honor, I haven't discussed

25    that with my client.     But I would imagine if he is
        Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 10 of 31     10


1    participating in that litigation and is defending that

2    litigation, that he would comply with whatever requests are

3    made.

4              THE COURT:   Well, why don't -- you read the papers

5    that were filed by Palantir.

6              MR. DiCANIO:    Yeah.

7              THE COURT:   And they have -- who is it, Mr. Wapner?

8    Your expert.

9              MR. LIVSHIZ:    No, Mister -- Prince Waldeck,

10   Your Honor, yes.

11             THE COURT:   "Prince" is his first name?       Or he's a

12   prince?

13             MR. LIVSHIZ:    I believe -- it's actually the title.

14   We can refer to him as "Dr. Waldeck" for the purposes of the

15   proceedings.

16             THE COURT:   Okay, because that's just weird.        Okay?

17             MR. LIVSHIZ:    Fair enough.

18             THE COURT:   The Doctor in his declaration -- I think

19   it was Paragraph 4.

20       Right?   You know what I'm referring to?

21             MR. DiCANIO:    Yeah.

22             THE COURT:   So given that, and assuming that is the

23   law, would you stipulate on the record that your client would,

24   nonetheless, agree to comply with whatever the German court

25   requested?
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 11 of 31        11


1              MR. DiCANIO:     May I have a minute, Your Honor?

2              THE COURT:    Yes.

3              MR. LIVSHIZ:     And then, Your Honor, if I may have an

4     opportunity?

5              THE COURT:    Of course.

6         (Off-the-Record discussion between counsel)

7              THE COURT:    I think I have the wrong paragraph.           It

8     was Paragraph 13.

9              MR. DiCANIO:     I knew which one you meant, Your Honor.

10             THE COURT:    Yeah.

11             MR. DiCANIO:     Your Honor, I'm a little bit hesitant,

12    only because I haven't posed that question to my client.             I

13    don't anticipate an issue.     But it's certainly something that

14    I can clear up very quickly after the hearing.

15             THE COURT:    Okay.    I would anticipate an issue, given

16    the war that is going on.      But -- okay.

17        Because that's what I think the factor, the first Intel

18   factor, the reason it matters if someone is a party to the

19   litigation or not, because as, of course, the Court can order

20   the discovery, then you don't so much need the order from the

21   Court in the United States.     You need that when you have third

22   parties who not are before the Court.

23        So I think the fact that Mister -- everyone seems --

24   Abramowitz?

25             MR. DiCANIO:     Abramowitz.
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 12 of 31      12


1                THE COURT:   -- Abramowitz is a party there, that's

2     only half the inquiry.     And I don't accept -- even though I

3     know you cite some cases that seem to accept that that, in and

4     of itself, is enough.

5         Okay.    So, why wouldn't, if that's the case -- if, if we

6    have that stipulation on the record, this case is here, should

7    they violate that stipulation.

8                MR. LIVSHIZ:   Uh-huh.

9                THE COURT:   Why wouldn't that be enough, then?

10               MR. LIVSHIZ:   Well, Your Honor, so there's two, two

11    points there.

12        First, if you look at Paragraph 12 of the Waldeck

13   declaration, he makes a more fundamental point.         And this has

14   been a point that has been accepted by a number of U.S.

15   tribunals, or courts, rather, which is:       German courts can --

16   do not understand the concept of discovery as we understand it

17   today.    The most that they could do would be to request

18   Mr. Abramowitz to turn over a specific document, which we would

19   first have to identify by name, rank and serial number.

20        And what I mean by that, we would have to say:         This is an

21   email from Mr. Abramowitz to Palantir, on Date X, and we would

22   like him to produce a copy of that email.

23        That is very different than the discovery that we seek and

24   that we will need to defend ourselves -- or to prosecute our

25   action.
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 13 of 31      13


1         I would commend to you Judge Posner's decision in the

2    Heraeus case in the Seventh Circuit, which we cited in both our

3    opening application and our reply, where Judge Posner goes on

4    at length about particularly in cases like this, 1782 discovery

5    is appropriate.

6         Also, Your Honor, I've prepared a small guide to sort of

7    help through the day (Indicating).       If I could hand up --

8              THE COURT:    The day, oh, we're not here for the day.

9              MR. LIVSHIZ:     Well, hopefully the -- our meeting

10    together this morning.

11        I do have a copy for Mr. Abramowitz's counsel.         If I could

12   hand up a copy to you and a copy to him?

13             THE COURT:    Sure.

14             MR. DiCANIO:     Your Honor, I would just say I object,

15    in the sense that we should have been given had a copy of this

16    before the hearing.    We were all seated outside for a long

17    time before the hearing.     So this is the first time I'm seeing

18    this.

19        (Document tendered)

20        (Document handed up to the Court)

21             THE COURT:    It's just a demonstrative.       And at the

22    end of the hearing, I will hand it back to alleviate any

23    concern that I would consider material anything other than as

24    a demonstrative.

25        Okay?
        Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 14 of 31     14


1               MR. LIVSHIZ:   So if you turn to Slide 5, Your Honor

2    this is just four cases which are similarly postulated as us.

3    Where discovery has been granted under 1782 in aid of German

4    proceedings.

5        And we cited, for example, Cryolife in our papers.

6               THE COURT:   Did you cite the other three in your

7    papers?

8               MR. LIVSHIZ:   We cited, I believe, Procter & Gamble.

9    I don't think we cited the first two.

10              THE COURT:   Then I'm not going look at them.       So, I

11   just have to tell you.     And, you know what the rules are,

12   right?    You can't come to court and cite a case that you

13   didn't cite --

14              MR. LIVSHIZ:   Okay.

15              THE COURT:   -- in your papers.     So you can't use it

16   in your demonstrative, either.      So I'm crossing them out.

17              MR. LIVSHIZ:   That's fair enough.     But I'll rest on

18   the other two, Your Honor.

19              THE COURT:   Okay.    But in those cases, was the party

20   from whom they were seeking discovery, were they parties --

21              MR. LIVSHIZ:   Yes --

22              THE COURT:   -- to the foreign litigation?

23              MR. LIVSHIZ:   Yes.

24              THE COURT:   Okay.    They were parties.

25              MR. LIVSHIZ:   All of those cases are
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 15 of 31     15


1    American-versus-American litigation in Germany.          1782 in the

2     United States.

3              THE COURT:    No, I understand it was American versus

4    American.     But was the American a party to the German

5     litigation?

6              MR. LIVSHIZ:     Yes.   In both of those cases, that was

7     the case.    We cited some additional cases in our papers, as

8     well.

9              THE COURT:    Did you want to say anything about those

10    cases?

11             MR. DiCANIO:     There's one very big difference,

12    Your Honor.    And I think we're starting by kind of missing

13    this fact.    And that is that what's different here is that we

14    have a case pending in California.

15        And what this -- what 1782 application is doing here, it's

16   allowing them to get access to discovery where, under

17   California law, they're not entitled to it yet, because they

18   haven't met the standards that California requires.

19             THE COURT:    No, I understand that.      But to me, that's

20    a question of timing, I guess.      So, and maybe --

21             MR. WOHLGEMUTH:     No, Your Honor, and that's where

22    they've misstated.    It's not a questioned of timing.

23        Under California law, they have articulated this in their

24   briefing to you as:    Well, this is about how to structure

25   discovery.
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 16 of 31     16


1         That's really only a small part of the California trade

2    secret regime.   What California law is saying is:        Listen,

3    we're worried about abusive actions being filed against

4    defendants where trade secret allegations are made, with

5    unspecified allegations.

6         And such, you start this process, you have a very liberal

7    pleading standard that we have in California.        And then you get

8    all of this discovery from your opponent about all of their

9    confidential and proprietary information.

10        So what California says is:      We're not going to allow you

11   to do that.   We're not going to allow you to proceed in this

12   case, unless you could satisfy a certain standard.

13              THE COURT:   That's what I'm saying.      It's about

14    timing.   Right?   So it may be timing in terms of when you get

15    the German discovery.     That's what I'm saying it may be about

16    timing.

17        Once the trade secret case is going forward in California,

18   right, then that argument disappears.       Because the judge had

19   said:   Okay, you've sufficiently identified your trade secrets,

20   and then it's going forward.

21        That's the timing I'm talking about.        So --

22              MR. DiCANIO:    Or -- Your Honor -- I'm sorry to

23    interrupt Your Honor.

24              THE COURT:   Go ahead.

25              MR. DiCANIO:    Or, or -- we've been at this for two
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 17 of 31         17


1     years.   And they haven't been able to meet the reasonable

2     particularity standard that's required under the statute.

3         This is all about the strike 3 in that action.         Because

4    the Court has the discretion to say: You know what?         I've given

5    you, now, three tries.     I'm dismissing the action.

6               THE COURT:   Okay.   Well, then, then that action isn't

7     a reason not to go forward with the discovery here.

8               MR. DiCANIO:    Then, Your Honor, we see where we are

9     at that point in time.

10              THE COURT:   That's why I'm saying it's a timing.          I -

11    I hear that.

12              MR. DiCANIO:    Yeah.

13              THE COURT:   But by the way, you know -- because you

14    actually wanted to be in Federal Court, right?         You originally

15    -- and do you know that many judges on this Court do not

16    enforce that state trade secret law, because they say it's

17    procedural and not substantive?

18        I don't know.    That's just a little bit of irony.

19              MR. DiCANIO:    I didn't know that, Your Honor.       But I

20    will tell you, in California state litigation, it becomes a

21    very, very important gating issue that there's a lot of

22    litigation over, and Judge Arand in the state court has spent

23    a lot of time on.

24        We've been through this for two years with these folks.

25              THE COURT:   No, no, no, I understand that.       I
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 18 of 31      18


1     understand that.    Did you want to -- I mean, I guess part

2     of -- and we'll just sort of the cut to it, why don't we just

3     cut to it.   Which, I do think some of their discovery they are

4     seeking would be relevant and appropriate in the German case.

5     I don't know why you need it today.

6                MR. LIVSHIZ:   Your Honor, let me just take a moment

7     and explain what's happening.      And I do think that there's a

8     different solution that would address both Mr. Abramowitz's

9     concerns, and would allow us to prosecute our action in

10    Germany.

11        And the concern is this: Mr. Abramowitz filed his patents

12   in Germany.   In late 2017 and early 2018, he has abandoned

13   them.   That has a unique effect under European law which is

14   different than the United States.      It means we cannot now apply

15   for that patent which we believe to properly belong to us,

16   until we have a court declaration saying that the patent -- we

17   are entitled to the patent (Indicating quotation marks).          That

18   is the nomenclature of the German proceeding.

19        The longer we go before we have a trial and a verdict, the

20   less likelihood under German law that we will be able to

21   enforce our rights under the patent.       Because in the interim,

22   the patent has been abandoned, and other market participants

23   can fill the space.    And their interests over time increase,

24   and our interests in securing our invention over time decreases

25   in Germany.
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 19 of 31      19


1                THE COURT:    No, I understand that.    But why shouldn't

2     we at least wait until he is served, and the case is moving

3     forward?   Because nothing can happen until he's served.

4                MR. LIVSHIZ:    Fair enough, Your Honor.     I don't think

5     we have a problem waiting until he's served.        I do think we

6     have a problem waiting until the state court resolves the

7     issues I just noted.

8         Mr. Abramowitz proposed the initial conference on the

9    third round of objections for February.       That motion may not be

10   decided until June.      We need to submit all of our evidence,

11   assuming we get served, by August.

12        But what we did propose in our papers and what

13   Mr. Abramowitz hasn't responded to at all is if the concern is

14   that we will use German discovery to enhance our position in

15   the California litigation, we have a solution, which is:          We

16   are not involved in the California litigation.

17               THE COURT:    Uh-huh.

18               MR. LIVSHIZ:    Freshfields is German counsel, and

19    counsel for the purposes of this arbitration -- this

20    proceeding, only.

21               THE COURT:    Ah.

22               MR. LIVSHIZ:    And we will enter into a protective

23    order that limits who can see the documents to, for lack of a

24    better word, Freshfields and European counsel.

25               THE COURT:    Ah, almost like a patent prosecution bar.
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 20 of 31     20


1                MR. LIVSHIZ:    I'm not familiar, so I'm hesitant to

2     agree.    But the idea is we will limit who can see the

3     materials only to the people who are working on the European

4     litigation who will not work on the California action.

5                THE COURT:   That seems like a fair compromise.

6    Again, I --

7                MR. DiCANIO:    It's not fair at all.    Your Honor, with

8     all due respect, it's not fair at all, for this very same

9     reason.

10        Think about where we are in this miscellaneous proceeding

11   filed before you.    They have a German proceeding that they

12   filed in.    But they haven't even served the defendant yet.

13               THE COURT:   Well --

14               MR. DiCANIO:    They haven't asked --

15               THE COURT:   No, now, let me finish.     That argument is

16    not that persuasive.      They tried to serve him, and your client

17    refused service.

18               MR. DiCANIO:    Your Honor --

19               THE COURT:   So now they're having to go through the

20    State Department, which is a process that began in October.

21    So, that process.

22        But once he's served, once he's served, and the German

23   case then is moving forward, what's wrong with their proposal?

24               MR. DiCANIO:    Because what the Court is being asked

25    to do is being asked to give them a right to discovery -- when
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 21 of 31    21


1     you are a third party in this litigation in some sense -- that

2     the German court may or may not give them, right, based upon

3     their request to the German court.

4              THE COURT:    That's not a good argument under Intel.

5              MR. DiCANIO:     Where the state of California -- but

6     here's what the Intel court didn't talk about and the cases

7     that they cite don't talk about.

8         There is litigation pending in California between

9    Mr. Abramowitz, a California resident, and Palantir,

10   headquartered in California.       And they are litigating the same

11   nucleus of facts.

12        And in that case, under California law, where all of the

13   parties are subject to -- because California has

14   jurisdiction -- is saying:     You don't get this discovery,

15   because you haven't reasonably identified with particularity

16   your trade secrets.

17             THE COURT:    You don't get discovery for use in the

18    California action, and they're agreeing.        We cannot use it in

19    the California action.     And we will ensure     we won't give it

20    to -- it would be attorneys' eyes only.

21        Right?

22             MR. LIVSHIZ:     Yeah.

23             THE COURT:    It would be attorneys' eyes only, and

24    only those attorneys working on the German case who are not

25    working on the California case.
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 22 of 31     22


1         "We agree with you," they're saying.        "We agree with you.

2    You're right; that would be unfair for us to be able to use it

3    in the California action."

4              MR. DiCANIO:     But Your Honor, again, he still needs

5     to be served.   Two, they need to make the request to the

6     German court.

7         And, and I guess the way we look at this is:         Why is this

8    Court getting in the middle of both of those situations, in a

9    situation where the underlying action is already being

10   litigated?

11             THE COURT:    So I'm not getting -- we are not getting

12    involved in the California action, because they've agreed that

13    it can't be used in the California action.        So now all we're

14    talking about is the German action.

15        You don't dispute that the only way they could get his

16   claimed inventorship vacated is in Germany.        That can't be done

17   in California.

18             MR. DiCANIO:     I don't agree with that, Your Honor.

19             THE COURT:    Well, I don't have anything in front of

20    me, and that seems --

21             MR. DiCANIO:     Well, Your Honor, that's the whole

22    point of the California case.      The whole California case is

23    about who invented these trade secrets.

24        It's -- it is them saying that:       These patents that you

25   filed in the U.S., right, those were our trade secrets.          We
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 23 of 31       23


1    told you about them.    You took that information, and then you

2    stole that from us, and you went ahead and you filed patent

3    application.

4         That will necessarily be decided in the California action

5    as to:   Who invented this technology.      Was it Palantir?     Or was

6    it Mr. Abramowitz?    That is part of it.     What they've done is

7    confused the issue by pointing to the remand order from the

8    Federal Court.

9         And really, what the Court was saying was that

10   inventorship was not the exclusive claim that was in the case,

11   because they brought also breach of contract and other types of

12   claims related to the trade secret and related to the 2012

13   transfer agreement.    And so, Your Honor, it is very much

14   central figure in this.

15        And this is why I think all of this seems wrong to me.

16   Because if this gets litigated in California, there will be a

17   determination.   They could get damages in California, because

18   they made a request for damages, for all damages that flowed

19   from the communication of these trade secrets to third parties,

20   whoever they are.

21        They can get an injunction to enjoin Mr. Abramowitz in the

22   California action.    They asked him to either withdraw or amend

23   his applications.

24        All of the relief that they are seeking in Germany, they

25   can get in California.     But here's what they did.
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 24 of 31     24


1                THE COURT:   No, they can't.    The California court

2     can't do anything with that German patent.

3                MR. DiCANIO:   They absolutely can, Your Honor.       And

4     they haven't answered this.

5         The California court could enjoin Mr. Abramowitz, and say:

6    You must amend or withdraw that application.        That's their

7    request in the state court.

8                THE COURT:   The German patent?

9                MR. DiCANIO:   They have jurisdiction over

10    Mr. Abramowitz because he's a citizen; he's a party to the

11    litigation.   And they could enjoin him, and say: You need to

12    withdraw or amend your patent applications in the U.S. and in

13    Germany.

14        They have not cited a single case that suggests that the

15   state court doesn't have that authority.

16               THE COURT:   When is your motion being heard, the one

17    in the state court you said --

18               MR. DiCANIO:   It's January -- can I just check --

19               MR. LIVSHIZ:   Then, Your Honor, if I may respond,

20    because there's two areas that are --

21               MR. DiCANIO:   January 15th, Your Honor.

22               MR. LIVSHIZ:   Okay.

23        Your Honor, the problem with Mr. Abramowitz's argument is

24   the following:   As a matter of European law, any declaration of

25   the California court is, frankly, irrelevant.        This is a
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 25 of 31   25


1    decision that, under European patent convention, has to be

2    rendered by the Munich court.

3         Second of all, just as long as we're talking about the

4    remand decision, Your Honor, I would point you to Judge

5    Hamilton's decision.    And this is at Page 5 --

6              THE COURT:    So about how -- with the -- for the

7     domestic patents, there was only the PTO that could do

8     anything, and that the court would -- no, I understand that.

9     I understand that.

10        I don't -- but so this is -- this is --

11             MR. DiCANIO:     Your Honor, can I respond to that?

12             THE COURT:    No, no.    Let me finish.

13        This is what I think needs to be done, because I think it

14   -- it gets us a little time.      Mr. Abramowitz needs to be served

15   in Germany.

16             MR. LIVSHIZ:     Yes.

17             THE COURT:    Because, as you concede, if he hasn't

18    even been served yet, nothing's going to happen; you don't

19    need that.

20             MR. LIVSHIZ:     Yes.

21             THE COURT:    Once that happened and something actually

22    happens, then we'll actually -- well, and given that, then you

23    have your argument as to -- or your agreement that you would

24    create some sort of wall --

25             MR. LIVSHIZ:     We are happy to look at any protective
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 26 of 31     26


1     order --

2                THE COURT:   Right, which this Court would maintain

3     jurisdiction of.

4                MR. LIVSHIZ:   Of course, Your Honor.

5                THE COURT:   Right.    Wouldn't see it.    By then,

6     though, I assume -- we're in December -- your motion would

7     have been heard.

8                MR. DiCANIO:   (Nods head)

9                THE COURT:   If your motion is denied, frankly, that

10    weakens your argument a lot.      Because that's essentially the

11    argument that you're making there.       And so then I'll decide

12    this motion in that context.

13               MR. LIVSHIZ:   Okay.

14               MR. DiCANIO:   Fine, Your Honor.     Can I just make one

15    more point?   You've been so patient.

16               THE COURT:   Okay.

17               MR. DiCANIO:   More patient than I would have been, I

18    think, if our roles were reversed.

19        He's absolutely wrong (Indicating).        German courts do

20   recognize U.S. judgments.

21        And too, what he's missing is that it would be an order

22   from the state court saying to Mr. Abramowitz:         You must amend

23   or withdraw that application.      So he would have to take

24   affirmative action to address that situation.

25        And they have cited nothing in their papers -- although we
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 27 of 31     27


1    raised it -- saying that that would not be -- that that would

2    not work and not be effective in Germany.

3                THE COURT:   Okay, I don't need to decide that.       And

4     basically, you have your argument in front of the state court

5     right now, --

6                MR. DiCANIO:   Yes.

7                THE COURT:   -- asking the judge to stay the German

8     court.   If you win that, great.     If you lose that, then I

9     think those arguments are not very good at that point.

10        But, you said it's going to be heard January 15th.          I'm

11   inclined to wait until after that, because I don't see any

12   reason why I need to rule today, given that your client hasn't

13   been served yet.

14               MR. DiCANIO:   I understand.

15               THE COURT:   Right?   I shouldn't -- then there's no

16    reason you need it right now.

17        Now, I'm sure I have a representation on the record that

18   everything they're seeking is being preserved.

19               MR. DiCANIO:   Yes, Your Honor.

20               THE COURT:   Okay.    All right.   And we're not

21    concerned --

22               MR. DiCANIO:   Well, it's the exact same stuff that's

23    subject to the discovery in California.        That's what's going

24    on here.

25               THE COURT:   Okay.    All right, fine.   So, so there
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 28 of 31    28


1     isn't that concern, as well.

2              MR. LIVSHIZ:     Uh-huh.

3              THE COURT:    So then what I think we should do, then,

4     is once -- and don't have your client continue the hearing in

5     January before the state-court judge.

6              MR. DiCANIO:     No.   We're -- we're eager to be in

7     front of her.

8              THE COURT:    All right, good.     Then once they've been

9     served, and that hearing occurs on January 15th, then why

10    don't we do this.    Set up a conference call with -- a status

11    with Ms. Means.    And then we can talk about having a hearing.

12    I imagine you probably all want to come in person again,

13    because everyone likes visiting San Francisco.         Or we can do

14    it by telephone.

15        We'll do this conference call status by telephone, and we

16   can talk about how to proceed at that point.        Whether I should

17   just take it under submission; whether you want to submit

18   additional materials in light of the developments in the case.

19   Or, or whether you want another hearing.

20             MR. LIVSHIZ:     That sounds great for us, Your Honor.

21        I would just note that on the very last point that was

22   said, German courts recognize U.S. judgment.        This is not that

23   particular question.    As explained at length in Dr. Waldeck's

24   reply declaration at Paragraph 8, this particular issue has to

25   be adjudicated by a German court.
         Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 29 of 31         29


1         I would also note that Skadden Arps, who is counsel for

2    Mr. Abramowitz, has a huge litigation practice in Munich.             And

3    we have not seen a single declaration on German law on

4    opposition, on their proposed surreply, or now, indeed, on the

5    California --

6              THE COURT:    Okay.   But I guess I'll just -- just on a

7     level up here (Indicating), all of these arguments, in effect,

8     are being made to the state court.       That they should enjoin

9     the German action.

10             MR. DiCANIO:     They are, Your Honor.

11             MR. LIVSHIZ:     Yeah.

12             THE COURT:    If the state court's enjoined the German

13    action, then there we are.     If the state court doesn't, then

14    the German action is going forward, and there we are.

15             MR. LIVSHIZ:     Okay.

16             THE COURT:    So I do think, actually, that makes

17    sense.

18             MR. LIVSHIZ:     Okay.

19             THE COURT:    And works with the timing, in any event,

20    since Mr. Abramowitz has not been served.

21             MR. LIVSHIZ:     Okay.

22             THE COURT:    So I'm going to leave it to you, then, to

23    contact counsel and Ms. Means to set up the status call, once

24    he's been served and the hearing has occurred.

25             MR. DiCANIO:     Thank you, Your Honor.
     Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 30 of 31   30


1          MR. LIVSHIZ:     Thank Your Honor.

2          MR. DiCANIO:     Appreciate your patience.

3          THE COURT:    Okay.   Thank you.

4     Oh, I'll give this (Indicating) back, like I said.

5     (Document handed down)

6     (Conclusion of proceedings)

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
    Case 3:18-mc-80132-JSC Document 41 Filed 12/11/18 Page 31 of 31




                      CERTIFICATE OF REPORTER

         I, BELLE BALL, Official Reporter for the United States

Court, Northern District of California, hereby certify that the

foregoing is a correct transcript from the record of

proceedings in the above-entitled matter.




                           /s/ Belle Ball

                  Belle Ball, CSR 8785, CRR, RDR

                     Tuesday, December 11, 2018
